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Sequence : flower garden — Institute : NHK
Bit rate : 9Mbps Date: / /9l
SNR (GB) SNR (dB)
Field Bits Yy Cb Cr Field Bits Y Cb Cr

0 900560 34.04 40.96 41.48 58 103376 92.04 36.73 37.18
1 223280 «33.96 37.04 «37.29 SL «92672 «32.22 «35.84 35.83
zZ 13616 32.63 37.39 37. 88 52 98960 92.72 36.73 36.98
3 99184 33.06 36.33 36.50 53 120672 $3.16 36.16 36. 04
4 135744 33.60 36.94 37.28 54 119216 $3.41 36. 7 36. 92

5 133360 33.71 36.37 36.53 55 125824 $3.23 36.00 35.88

6 120048 33.72 36.75 96.96 06 119904 32.64 35.92 36.31
1 111232 33.65 36.50 36.26 57 117328 32.12 35.16 35.23
8 111184 33.75 36.64 36.63 58 94736 31.67 35.14 35.37

§ 115768 33.38 35.98 35.99 5988496 «81.62 34.80 34, TE
to 12003232. 84 35.71 «358.94 60 © 95984 «= 32.02 «35.19 35.14
11 122784 32.36 34.98 35,25 61 118112 32.74 35.38 35.01
12 106880 31.75 34.74 36.09 62 120400 32.79 35.58 35.42
13 87968 31.39 34.41 34.59 63 116672 32.69 35.41 35.06
14 81808 31.38 34.50 34.61 64 114832 32.66 35.48 35.17
13 105008 31.79 34.51 34.57 65 113686 32.53 36.15 94.92
16 111120 31.81 34.55 34.63 66 115152 31.98 34.82 34.80
17 125776 32.36 34.85 34.75 67 128304 31.51 34.37 34.58
18 116655 - 92.45 34.90 34.84 68 125200 30.87 33.92 34.24
19 118416 32.66 35.03 34.88 69 96256 30.29 33.61 34.01
20 115136 32.34 34.81 34.77 10 80752 30.32 33.56 33.86
21 120400 31.92 34.41 34.49 il 77424 30.46 33.63 33.74
22 124096 31.52 34.06 34.30 12 921072 34.15 40.39 40.37
23 120528 31.05 33.74 34.08 73 235136 33.05 36.42 36.43
24 857312 34.27 40.39 40.61 14 52016 31.98 37.77 38.26
25 225824 33.33 36.58 36.83 5 86832 32.44 36.15 36.00
26 114720 82.14 $6.55 36.95 76 136000 32.89 36.70 37.03
27 103424 32.23 35.83 36.10 17 145056 32.90 35.85 35.72
28 92624 31.98 35.91 35.99 18 129024 32.75 36.08 36.36
29 92784 32.27 35.67 38.74 19 123136 32.27 35.26 35.42
30 106576 32.43 35.84 35.91 80 121504 31.92 35.10 35.63
3] 122752 32.71 35.57 35.65 81 115568 31.73 34.54 34.90
32 139808 32.59 35.31 35.52 82 100704 31.395 34.49 34.87
33 112000 «= 32,20 38.03 35.22 83 BB720 «BL. 1134.34 34.43
34 115024 31.98 34.79 34.97 84 89216 30.85 34.18 934.36
3 128400 34.52 34.32 34.71 85 98640 30.92 34.00 34.12
36 123584 30.89 33.97 34.40 86 125792 31.10 33.89 34.14
37 103824 30.03 33.43 33.95 87 131696 30.97 33.52 33.87
38 90160 29.85 33.29 33.77 88 125920 30.61 33.42 33.69
39 719776 29.74 33.18 33.54 89 104496 30.11 33. LL 9 33.41
40 85200 30.0] 33.31 33.58 90 96528 29.95 32.98 33.20
4} 99920 30.54 33.58 33.61 g) 95728 29.91 932.95 33.10
42 125424 31.14 33.87 33.85 92 101040 30.28 33.17 33.19
43 135872 38.55 34.03 34.00 - 93 105104 30.56 33.27 33.26
44 116992 31.50 34.12 ° 34.04 $4 113840 31.07 33.55 33.52
45 108368 31.52 34.16 34.09 95 116384 31.24 33.68 33.62
46 112512 31.54 34.13 34.08 $6 920048 33.49 39.62 39.73
47 100720 31.39 34.09 33.98 $7 224368 32.58 35.85 35.93
48 894496 $34.25 40.54 40.59 98 108160 31.30 35.87 36.49
49 235952 33.27 36.60 36.49 . 99 107984 31.34 34.97 356.41

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Case 2:10-cv-01823-JLR Document 173-7 Filed 02/03/12 Page 2 of 15

SNR (dB) SHR (dB)

Field Bits Y Cb Cr Field Bits - Y Cb Cr
100 «117248 «= 30.9734. 58 84. 84 150 136960 31.24 «34.77 85. 84
101 89744 «= 31.18 34.79 «34. 89 151 123984 30.93 34.25 34.62
102 97568 «= 31.40 34.96 34. 96 152 90624 «© 30.67 34.28 «34. 5d
103 98528 «= 31.97 35.19 35. 06 153 80080 © 30.99 34.27 +34. 30
104139120 32.09 34.79 «34. 94 1549120 3.45 34.67 «34.63
105 149696 «= 31.54 34.45 34. 92 155 110224 «3.69 «34.47 34.45
106 192560 30.56 33.77 34.34 156 135056 «= 31.53 34.20 34.35
107 111920 © $0.00 33.42 33.97 157 124640 «= 3.18 33.91 33.97
108 84192-2953 33.16 33.91 158 107600 30.97 33.85 33.89
109 72240 29.23 32.90 33.55 159 «98760 = 80.96 «33.85 33. 81
110 77872,—=s« 29.56 32.95 33. 48 180 97712 81.14 33.93 33.92
111 98784 «30.24 «33,17 33. 48 161 104992 31.54 34.13 33.93
112125184 = 30.84 33.48 33.67 162 111984 = 32.04 34.62 34. 25
113 145584 31.13 33.45 33.75 163 122704 32.09 34.57 34. 20
114 130560 = 30.59 33.25 33.85 164 116352 «32.00 34.60 34. 31
115 107728 «= 30.41 33.14 «33. di 165 109952 31.69 34.36 34. 10
116 87104 «=: 30.50 33.31 «33. 38 186 116864 = 31.52 34.11 34.01
11795968 «=: 30.87 «33.45 33. 49 167 112480 © 3.21 33.87 © 33.74
118 108080 «= 31.10 33.57 33.63 168 891920 33.29 39.37 39.48
19 112768 = 31.07 33.51 33. 58 169 224144 «32.37 38.72 © 35. 73
120 913232 33.70 «39.84 39.95 170 79344 «© 32.61 «37.61 37.53
121 224656 «= 32.60 35.96 35. 99 171 114608 «= 32.59 35.80 35. 54
122 81808 ~=— 31.62 387.01 37.35 172131264 32.4] (36.14 36.30
123 122800 «31.85 9-38. 10 35. 46 173 123616 «= 32.06 = 35.08 35.01
124 146736 «31.29 34,77 35. 20 174110768 «= 38.80 85.24 = 35.32
125 112128 «= 30.68 34.15 34. 66 175 97280 «31.61 34.81 34.67
126 85600 «= «30. 41 «34.00 «34. 98 176 96352 «= 31.71 «35.08 34. 98
127 $0080» 30.38 «33.83 «34. 21 177 107760 «31.97 34.93 34. 61
128 103104 = -30.47 «33.74 «34. 00 178 113472 31.82 34.83 34. 76
129 120000 «= 30,71 «33.74 = 34.00 179 121216 «= 31.81 84. 64 34. 98
130 123264 30.62 «33.48 «39.69 480 «1135363171 :34.60 34. 41
131 «114112 = :30. 62 39.4939. 62 181 112576 «34.61 34.35 «34. 10
132 101520 «30.59 38.59 39. §3 182 «108672 «31.15 34.00 34.00
133 «99776 =—s«30,87 38.74 «39. 64 183 108896 30.78 +33. 73 «33. 70
134 105360 31.11 33.91 38. 70 184 98768 + «= 30.58 «33.57 33. 49
135 105072 31.36 34.10 39. 80 185 101504 30.79 33.67 33.44
136 «114864 «31.78 34. 4134, 07 186 ©—-111088 = $0.93 33.65 «33. 44
137 121488 «=—31.96 9-34.40 34. 16 187 107152 «30.95 33.57 39.47
138 «(125296 «= 31.89 «34.22 34.11 188 111264 «= 31.05 «33.65 «39.52
139 121072 31.55 33.94 33.91 189 108976 31.07 33.71 33.58
140 «119136 = 31. 2133.69 «33. 72 190 105744 31.28 33.85 33.61
141105968 «= «30.60 33.92 «33. 39 191 107856 © 31.43 38.93 98. 62
142 89440 «= «30, 28) 33.15 33. 22 192 925856 39.38 39.45 39.56
143 «90656 «= «30,.27 «33.22 «33. 16 193 223408 «= 32.28 «35.76 35. 80
144916976 «= 32.96 «39.12 99. 16 (194 = 104304. 31.59 -36..97 36, 75
145 225136 «= «32.03 «35.45 98. 40 195 117456 = 31.26 «34.93 35. 28
146 «51780 «= 31.35 37.23 «97. 50 196 190224 30.58 34.90 34.62
147 —«95632«— 34. 7335.46 35. 34 197 115632 30.22 «33.79 «34.32
148 «148472 «32.26 «36.22 © 36. 69 198 © 96240S 29.77 «33.47 33.75
149144043 91.80 34.87 95.13 199 94G44— 29.39 33.16 = 33. 82

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Field

Bits

aanmng

2110909

LlVeove
109072
116336
117008
111584
108144

97840
105744

191069
1ébauy

119728

auido

114848
109632

95768
100080
108464
917536
220416

136080
129072
108112
102432
118176

127920
119072
113936

78472

83408
116352
130528

1V1QCLA
dLeUVG

120000
107680
96208
93856
95168
110736
112224
934320
210768
70144
111520

Y

SNR (dB)
Cb
18 32. 78
90 32.78
45 32.72
54 32. 68
33 32.45
04 32.28
92 32.05
18 32.02
93 32.03
05 31.98
85 32.02
61 31.89
5531.79
4731.72
49 31.63
65 31. 66
10 38. 95
68 35. 18
31 36.00
69 34. 46
49 34. 34
29 33.72
86 33.50
91 33.38
533.15
5332.86
07° 32.73
18 32.35
88 32.63
03 92.49
50 32.65
39 32.29
23 92.27
22 92.14
11 32.12
98 32.05
07 92.14
20 32.19
19 «92.54
05 32.70
TT 39.05
6348.34
78 37.14
76 35.22
69 35.30
12 44.39
58 34.10
19 93.56
.83 33.29
6393.12

uv.

v4

Ww

wl

116464
133200
137040
135904
122816
100864

74048

115712
127840
120608
914448

619104

65088

119536
115920
114704
102288
916592
205440

97888
126304

131992
121456
110816

92384

nange

O40

INT9KA
AVEGOE

125424
103840

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Sequence : mobile & calendar Institute : NHK
Bit rate : 4Mbps Date: / /91
SNR (dB) SNR (dB)

Field Bits Y Cb Cr Field Bits Y Cb Cr
0 476928 26.71 35.67 36. $1 50 33104 25.65 34.63 35.12
1 105824 26.19 33.54 34.239 §1 33264 25.63 32.96 33.58
2 51792 25.54 34.21 34.75 $2 48016 25.61 33.97 34.39
3 48448 25.63 938.42 34.01 §3 §3200 25.59 932.67 33.20
4 59936 25.32 33.37 33.77 §4 §4544 25.65 33.50 33.87
§ 55008 25.09 33.00 33.36 55 §3104 25,54 32.38 $2.84
6 47520 24.97 32.90 33.19 §6 «= 1600 25.62 33.08 33.42
7 47488 24.77 32.50 32. 78 §7 48288 25.43 32.18 32.57
8 45776 24.67 92.49 32.80 58 47376 25.51 92.78 33.05
9 44464 24.45 32.11 32.48 §9 48800 25.35 31.94 $2.29

10 44326 24.25 92.11 32.34 60 47616 25.36 32.48 32. 71
Ll 41696 24.18 31.87 32.07 61 44160 25.09 31.72 32.00
12 39776 24.10 31.8] 31.99 62 42480 25.08 32.16 32.40
13 40368 23.97 31.67 31.79 63 40416 24.93 31.47 31.80
14 41104 23. 82 31.08 $1.69 64 40928 29. OO 31. 90 $2.14
15 40352 23.77 31.988 934.43 65 40320 24.84 $1.32 31.60
16 38896 23.85 31.39 31.42 66 40976 24.94 31.75 31.91
{7 40704 23.92 31.22 31.35 67 42928 24.84 31.20 31.49
18 A44B0 24.05 31.18 31.34 68 44400 24.91 31.54 31.77
19 43568 24.03 31.09 31.19 69 45888 24.81 31.10 31.35
20 41488 23.98 31.01 31.15 70 45824 24.87 31.37 31.55
21 43104 24.10 31.02 31.17 Ti 45952 24.81 30.94 31.22
22 45636 24.23 31.00 31.20 72 470688 26.32 35.40 96.13
23 46224 24.28 30.91 31.19 73 134608 26.61 33.38 94.16
24 481264 26.60 35.62 36.43 14 35872 25.52 94.61 35.05
25 119664 26.47 93.47 34.38 78 37056 25.53 32.93 33.99
26 35024 25.47 34.69 35.25 16 44992 25.38 33.74 34.10
27 35792 25.60 33.23 33.90 11 44080 25.36 32.51 33.05
28 45376 25.53 34.15 34.64 18 46032 25.39 93.28 33.61
29 47344 25.48 $2.91 33.48 19 46048 25.29 32.23 32.68
30 $1632 25.49 33.77 34.16 © 80 47408 25.80 $2.87 33,19
31 57920 25.43 32.64 33.15 81 48496 25.16 31.96 32.45
$2 52016 25.40 33.30 33.67 82 51456 25.21 32.43 32.80
33 ABLdd 25.22 32.39 32.88 $3 $1184 25.03 31.70 32.12
34 49120 25.24 32.94 33.38 84 48544 24.92 32.12 32.42
35 47904 25.17 32.21 32.71 85 44336 24.76 31.47 931.91
36 49104 25.05 32.65 33.00 86 42416 24.73 31.88 32.14
37 43328 24.87 31.99 32.39 87 41296 24.63 31.30 31.62
38 44048 24.84 32.34 32. 64 88 42096 24.69 34.61 31.91
39 =: 46096 24.73 31.77 32.11 89 42912 24.59 $31.10 31.43
40 45664 24.78 32.10 32.39 90 44624 24.66 31.38 31.66
4l AARGA 24.72 31.60 31.97 91 45888 24.54 30.93 31.25
42 44992 24.73 31.93 32.23 92 45256 24.56 $1.22 31.40
43 42896 24.54 31.40 31.78 93 46112 24.49 30.79 31.04
44 44512 24.59 31.69 ~— 32.00 94 44768 24.53 31.02 31.21
45 44080 24.52 31.27 = 31.53 95 44816 24.50 30.69 30.94
46 44304 . 24.56 31.52 31.80 6 471408 26.32 35.28 36.00
4] 44208 24.52 31.12 31.40 97 131728 26.62 33.29 33.96
48 467456 26.37 35.41 36.21 98 32400 25.47 34.51 34.90
49127504 26.53 93.37 34.15 99 33248 25.55 32.93 33.45
RR

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SNR (dB) SNR (dB)

Field Bits Y Cb Cr Field Bits -° Y Cb Cr
100 «4451225. 43 83.7294. 05 150 ABLAA. «24.77 92.19 32.92
101 47392 «25.42. 32.58 32.97 151 517442. T8173 81. 88
102 «50192 ~«=Ss«25. 60 «33.30 38. $9 152 52448 24.56. 31.76 31.78
103 «51536 «25.46 «82.30 32.72 15347056 «=Ss2.4.54 31.39 31.40
104 54480 25.54 32.83 33.19 154 42144 24.49 31.34 31.37
105 $2096 «= 25.37 32.03 «82.47 155 41360 «24.58 «34-12 31.12
106 47264 25.25 32-42 32.76 136 0 40352 s24.62 31.48 31.21
107 «49200 «S «25.10 «31.75 = 32.11 157 40272, 24. TL -30.97 30.97
108 47280 «= 25.07 32.08 32. 38 158 44512 24.81 30.99 31.10
109 ««43888)—si2A. 78 BLT 81.72 159 48320 24.84 30,86 30. 94
110 4291224. 7631.73 31.95 160 47376 24.85 30.90 30.99
11] 43584 24.65 31.26 = 31.49 181 44768 24.91 30.97 30.82
112 4427224 A BL 4281 BD 162 44176 24.95 30.74 30.86
11346704. «24.52 «81.0331. 28 163 44048 «=. 24.97 30.63 30. 69
11446224024. 81— B33. 25 164 42800 25.02 30.65 30.78
i135 4112.24.38 «30.79 = 30.94 165 48256 26.14 30.56 30.72
116 = 43568 «= 24.32 «30.81 = :30. 96 166 49248 25.21 30.61 30.72
117 40544.—S 24.20 30.60 30. 74 167 47536 «= 25.22 30.48 30. 85
118 40960 24.27 30.59 30.80 168 458640 25.98 34.89 35.55
119 4N344—s24.24)= 30.4730. 61 169 136880 26.68 33.19 33.83
120 471504 ~=—-26. 2335.15 35. 88 170 «40576 «= s25. 5134.05 «= 34.59
121 131216 «=. 26. 46 «33.19 33.82 iT! 40160 «=. 25.80 32.72 «33. 22
12231728 ~=—25.20 3d. 1234. SL 172 4651225. 78 33.49 «33.87
12334440 0-28.33 32.75 © 33.10 17349024 = «25.83 32.34 32.77

124 42160 25.02 33.386 33.57 174 $4240 25. 81 $2.89 933.26
125 43760 «= s«o28.20 32.36 «32.67 175 50208 25.68 31.98 32.34
126 50288 25.16 32.65 32.88 176 50528 25.66 32.50 32.75
127 «= «$8472 25.29 «32.08 «32.46 177 48512 «25.47 B1.72 «31.99
128 = 50816 «= 25. 1132.22 «32.57 178 44016 = 25.45 32.15 32.34
123 50128 25.13 31.80 32.19 179 42960 25.30 31.40 31. 67
130 = 50496 = 25.01 31.89 32.24 180 «= «42752 «28.24 31.76 = 31. 94
131 46864 «= 24.91 31.53 31.83 181 44608 25.16 31.16 31.38
132 44016 = 24.79 BEST 31.73 182 «45616 «= «25.17 31.48 31.67
133 = «4515224. 6181.27 31.46 1838 48064 = «25.05 80.92 3h. 44
134 = 44000, = 24.51 8.27 31.39 184 46144 25.02) «31.19 31.34
135 43056 «S24. 3931.05 31.22 185 43952 24.83 30.68 +30. 91
136 = 44512 «24.43 31.03 3.16 186 = 41488 = «24.80 «30.93 31.1
137 45680 «= -24.39 «30.85 31.06 187 44080 «= 24.77 += -30.57 30.70
13845536 = 24.95 «30.81 30.97 188 = 44352-2483 30.80 30. 92
13944144 24.34 80.66 30.79 189 44720 «=. 2. 80» 30.48 30. 59
140 45184 24.39 30.58 + 30.75 190 = 42144 24.79 «30,63 30.77
141° 45744 = -24.91- 80.4730. 82 19) 4552-24. 72—«30. 3430. 45
142 45088 = «24.97 80.4330. 5d 192 458192 25.89 34.84 35,49
143 46608 «= 24.32 30.34 30.51 193 145248 «=». 26.69 33.1333. 64
144457840 = 25.94 34.92 35.62 194 «= 3040s 25.33 33.96 34.28
14513718426. 6133.15 33.77 195 32082 »=—-26.05 «32.62 32.93
146 «36176 «24.97 39,84 84. 16 196 = 87760 25.43 33.38 33, 43
147-8368 «= «28.40 32.61 32,98 197 $8098 «= «26.00 32.22 «32.51
148 = 47456 = «24.91 32.80 233.02 198 46160 =. 25. 75 32.85 33.00
149 46928 26.02 32.15 $32.41 199 50368 26.20 31.98 32.26

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MS-MOTO_1823_00000720751
Case 2:10-cv-01823-JLR Document 173-7 Filed 02/03/12 Page 6 of 15

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SNR (dB) SNR(dB)

Field Bits Y Cb Cr Field Bits Y Cb Cr
200 57232 26,08 $2.45 32.72 250 «49216 «= «26.21 «32.84 «32. 98
201 $5200 «= 26.29 31.77 «32.05 251 48128 26.16 31.85 32.28
202 $4672 «= 26.20 82.17 32. 38 252 47440 «26.10 92.48 = 32. 70
203 © 48496 «= 26.21 31.54 31.77 253 «© 44768 «= 26.01 31.72 «32.04
204 «© 46976.—«S 26.18 «31.84 32.07 254 40608 26.01 32.26 32.54
205 47648 «= «26.15 31.37 31. 64 255 40255 26.11 31.68 32.08
206 «= 44384.—= 26.13 31.60 31. 76 256 «© 42480 «26.26 «32,31 32. $8
207 «43280 «S 26.06 «31.18 31. 39 257 «© 39904 «= «26.37 31.73 + 32.10
208 «© 47568 «= s«26.09 «31.40 31.54 258 41824 26.62 32.35 32. 65
209 «46592 «25,99 «31.02 34.22 259 «= 42624 « 26.71 «31.79 «32. 20
210 44608 25.96 31.18 31.33 260 43440 «= 26.80 «32.34 32.70
211 © 41760 «= 25.84 30.83 30.97 261 48128 «= 26.92 «31.82 32.29
212 «40896. «S25.79 31.00 31. 04 262 50240 26.88 32.29 32. 65
213 42464 = 25.73 30.69 30. 79 263 «©2784 «= «26.90 931.77 +32. 24
214 40416. «= 25.66 = 30.80 30. 85 264 458000 «= 26.84 34.89 38. 67
215 40720 «25.51 30.50 30.59 265 195392 27.71 33.14 38.60
216 460272 26.07 34.90 38.51 266 50208 26.91 34.17 34.73
217 143632 «26.91 33.15 34. 66 267 41488 «=. 27.18 9-32.84 39.45
18 37136 «9-25.58 33.94 34. 11 268 47760 27.03 33.76 34. 25
219 «36768 «= 26.04 32.61 32.87 269 47536 27.08 32.59 33.17
220 © 45168 «= so25.51 83.26 «39.34 270 47280 «=. 27.00 33.34 33.86
221 44192 s«28.67 «32.23 «32. 38 211 46272 26.90 32.31 32.84
222 «© 44016 «= s«25. 5732.74 «30.85 212 43744—s«28.72=«:32.97 +=: 38
223 43472,—«Ss«28. 76 31.91 = 32. 12 273 A1792.«=s«26.59 «32.12 32.59
224 49040 25.68 32.41 32.46 274 44496 26.54 32.72 33.04
225 ABN12.—«ss«25. 7431.65 3. 78 215 46575 «= «26.54 31.94 32.38
226 «= $0144 = «25.76 «32.07 32. 16 276 © 46480 26.44 32.46 = 32.72
227 «$0384. «25.77 «31.47 31. 58 217 «44816 «26.39 «31.80 32. 22
228 «= $0160 «= «28. 743.74 31.95 218 43936 26.39 32.32 32.57
229 «48016 «= s«25, 58 «31.25 31. 40 21942752, 26.34 BL. TL 32. 11
230 «46944 «= so25,63 «31.84 31.87 280 42160 26.40 32.23 32.44
231 48992 «25.56 31.43 31. 28 981 42240 26.43 31.73 32.08
232 «46192 25.47) 81.94 91. 40 982 47968 26.53 32.26 32.45
233 «44656 «= «25.33 «30.96 «31. 0d 283 $5008 26.38 $1.64 32.04
234 42736 «© «25.26 31.16 31. 20 284 50784 26.15 32.02 32.20
235 43888 25.16 30.80 30.81 285 49392 26.09 31.47 31. 80
238 «© 43808 «= 25.19 30.97 31.02 286 © 49984 «= 25.96 931.84 31.97
237 © 43808«=— «25.14 30.63 30.77 287 45664 25.76 31.28 31.50
238 «© 43152-2511 30.80 30. 89 288 444416 «= 25,90 34. 4435.08
233 40832 24.99 30.52 30.63 289 148672 27.02 32.77 33.38
240 455344 © 28.28» 34.80 35.51 290 41952 25.78 33.70 34.19
241 139312 27.20 38.05 33. 66 291 35696 26.19 32.40 32.98
242 33328 «= 28.61 34,05 34. 32 292 47408 25.75 33.23 33.63
243 32016 26.07 32.65 32.94 293 43920 «=«-25.85 32.10 32.53
244 45488 28.76 «33.44 33. 66 294 47856 25.64 32.78 33.09
245 45296 «= 25.99 32.41 32.71 295 43632 «25.53 31.79 32.17
246 49776 «= 26.00 33.17 + 33.39 296 «43392-2837 32.98 32.58
247 «48752 «— «26.12 -32.21 32.87 297 42624 «= «25.31 31.51 31.80
248 $3216 26.10 32.84 33.17 298 © 42928 «= 25.27 32.06 32.21
249 «0944 26.21 «92.02 «32. 44 299 «AL344 «25.230 31.813. 54

40

MS-MOTO_752_0001230232
MS-MOTO_1823_00000720752
Case 2:10-cv-01823-JLR Document 173-7 -Filed 02/03/12 Page 7 of 15— - .

Sequence : mobile & calendar Institute > NHK
Bit rate : SMbps Date: / /91
SNR(GB) SNR (dB)
Field Bits Y Cb Cr Field Bits Y Cb Cr

0 872160 29.95 39.42 40.35 5073488 = 28.69 37.30 37. 98
1 246544 29.80 35.46 36.56 §1 105760 29.06 34.78 35.67
2 100304 28.25 36.10 36.85 52 133488 + 29.34 36.28 36.98
3 98416 28.35 34.91 35.75 53 121296 28.87 34.44 35. 20
4 120800 28.03 34.85 35.54 54 109008 28.85 35.49 36,17

5 112992 27.82 34.22 34.87 55 111552 78.66 34.13 34.81

6 109968 27.81 34.20 34.79 58 ji0S9i2 28.78 34.94 35.55

7 112656 27.80 33.70 34.35 §7 114304 28.67 33.93 34.54

8 110128 27.76 33.79 34.39 58 108464 28.75 34.59 35.10

9 {14192 27.85, 39.33 33.99 59 «110496 = «28.63 33.78 = 34. 33
10- 111856 27.48 33.37 33.90 60 109056 28.63 34.25 34.74
ll 162784 27.29 33.01 33.56 61 111168 28.46 33.57 34.08
12 106112 27.46 33.10 33.64 62 105248 28.44 33.92 34.37
13 103568 27.17 32.84 33. 34 63 106688 28.44 33.40 33.94
14 109888 27.21 32.81 33.44 64 109536 28.58 33.76 34.21
15 110528 27,20 32.56 39.18 65 108496 28.48 33.35 33.83
16 106816 27.31 32.69 33.17 66 110864 28.58 33.70 34.14
17 107728 27.44 32.60 33.13 67 119552 28.67 33.36 33.88
18 117328 - 27.66 32.72 33.19 68 111712 28.51 93.51 33.96
19 112672 27.54 32.57 33.04 69 103088 28.27 33.12 33.63
20 107952 27.54 32.58 33.09 10 109440 28.44 33.30 34.17
21 106896 27.57 932.54 33.04 11 111344 28.38 33.01 33.57
22 106672 27.68 32.60 33.10 12 874608 29.57 39.24 40.07
23 108496 27.77 32.87 33.18 73 240400 29.33 36.04 36.92
24 896688 29.83 39.49 40.37 “74 99904 28.94 37.03 37.64
25 245320 29.70 35.25 36.26 19 112464 28.81 34.63 35.43
26 81568 28.46 37.10 37.76 76 115680 28.83 35.65 36.29
27 98320 28.80 34.85 35.74 17 114096 «=. 28.61 «34.41 934.85
28 122192 29.08 36.24 36.93 18 110080 28.66 34.94 35.51
29 129280 29.05 34.54 35.35 19 112192 28.48 33.82 34.49
30 122782 28.82 35.55 36.20 80 110416 28.55 34.43 34.97
31 103568 28.27 34.11 34.81 81 111744 28.39 33.61 . 34.20
32 100704 28.26 34.84 35.46 82 110512 28.40 34.03 34,53
33 105312 28.13 33.78 34.47 83 112176 28.21 33.35 33.94
34 107872 28.24 34.41 35.03 84 105824 28.03 33.59 34.11
35 109488 28.22 33.63 34.33 85 108368 28.04 33.12 33.63
36 110176 28.30 34.11 34.77 86 £11664 28.12 33.44 33.90
37 111344 28.16 33.46 34.10 87 107744 28.08 33.01 33.56
38 110704 28.23 33.83 34.44 88 107536 28.16 33.30 33.74
39. 112560 28.14 33.30 33.91 89 110176 28.13 32.93 33.46
40 109776 28.16 33.60 34.18 90 111936 28.11 33.12 33.61
4) 110208 28.13 33.18 33.84 91 111952 28.02 32.77 98.33
42 110352 28.16 33.43 33.99 92 112256 28.05 32.94 33. 38
43 111760 28.03 33.04 33.61 93 £11232 27.95 32.70 33.16
44 110320 28.07 33.27 33.79 94 109632 28.04 32.80 33.27
45 110176 27.98 32.92 33.51 95 108784 27.97 32.61 33.06
46 110192 28.08 33.13 38.66 " 95 873376 «= 28,50 99.04 39.84
47 108112 27.97 32.88 33.41 97 240336 29.39 34.95 35.82
48 888096 29.70 39.40 40.25 98 88896 28.77 36.93 37.49
4g 248400 29.54 95.17 36.16 99 107328 28.88 34.53 35.31

4)

MS-MOTO_752_0001230233
MS-MOTO_1823_00000720753
Case 2:10-cv-01823-JLR Document 173-7 Filed 02/03/12 Page 8 of 15 .

{11792
112992

110240
111616

anaUil

106608
1ids44
109760
105328
109872
109968

882320

112400
13664
102448

99728
102864

1NQ9G4

avvous

112992

109072
113792
112016
110896
115264
111088
110832
111568
109888
111312
877856
235792

Q&760
aie

110672

128032
121424

Y¥

SNR (4B)
Cb

v0. 34%

42

Field

Bits

ananaa

104944
115984
110272
108240
107664
106240
117984
108608

ansean

LU01T4U

119494
LLv4%o%

108448
107856
898624
231664

93120
110512
114864

19dABA

10590

111760
114688
111184
103504
107248
112992
109360
111456
111376
115008
110560
111936

870768
240160

$0960
116992
117760
£11312
118064
115360

SNR (dB)
Y Cb Cr

MS-MOTO_752_0001230234
MS-MOTO_1823_00000720754
Case 2:10-cv-01823-JLR Document 173-7 Filed 02/03/12 Page 9 of 15

113376
107424
109792
108640
112480
111728
111296
114016
101776

104848
114912
124064
115648
103200
111536
112812
100640
108080

1QI9Z

111619

Li3t2
111568
110736
109136
131920
110384
112400
108960

1ne2ce
AVOEND

108384

avOues

110400
885392
224880
101248
120800
114448
112304
108512
109840
108992
117712

oe.

oe.

SNR (GB)
Cb
B§ 34. At
48 33.75
58 34.01
AT 33.53
56 33.73
51 33.46
65 33.68
63 33.45
63 33.47
AT 33.27
AG 33.35
17 33.03
26 33.16
07 32.99
08 33.05
03 32.5
39 38. 86
31 34. 88
30 36. 26
24 34.27
24 35.24
80 33.84
12 34.53
98 33.58
05 34.11
83 33.31
83 33.73
82 33.16
90 33. 50
76 33.02
18 33.35
62 32.93
63 33.13
ST 32. 88
57 33.03
53 32.78
55 32.92
55 32.76
§2 32.81
53 32.75
81 39.01
67 34.78
3536. 91
4 34.51
40 35. 86
27 34. 16
47 35.39
45 34.01
51 35.00
$7 33.97

43

Field

250
291
252

Bits

110160

109280
108336
113248
107168
110896

ONAORA
614004

225728
119216
115648
108480
114736
107168
111616
110480
105120
106784
114240
109792
108096
105472

$9200
115200
119120
120096
119168
108256

108096
122768
113056
112016
121600
111760
106336

99888
105920

MS-MOTO_752_0001230235
MS-MOTO_1823_00000720755
Case 2:10-cv-01823-JLR: Document 173-7 Filed 02/03/12 Page 10 of 15

Sequence : table tennis Institute : NHK
Bit rate : 4Mbps Date: / /91
SNR(dB) SNR (dB):
Field Bits Y Cb Cr Field Bits Y Cb Cr

0 427056 26.24 40.89 42.78 40 44816 26.01 39.51 41.26

1 141440 25.09 38.45 40.01 ‘Al 50800 26.40 939.18 40.72

2 25792 25.57 40.18 41.57 52 51088 26.57 39.21 40.58

3 36304 24.91 38.28 39.71 33 45632 27.09 39.16 40.43

4 49152 25.98 40.04 41.22 $4 47440 27.10 39.18 40:28

5 71120 25.82 38.46 39.69 §5 44096 27.41 39.02 40. 08

6 67312 26.52 40.07 41.16 56 44288 27.57 39.12 38.87

7 81328 25.83 38.47 39.64 57 45248 27.45 38.83 39.60

8 §7600 25.47 39.56 40.68 58 43552 27.74 38.87 39.62

9 49936 25.00 38.43 39.46 59 44048 27.56 38.69 39.39
10 40544. 24.65 39.00 40.07 60 42848 27.89 38.80 39.40
tl 34656 24.40 38.39 39.11 61 45136 28.18 98.69 39.45
12 28416 24.28 38.78 39.48 62 45984 28.35 98.78 39.35
13 31616 24.31 38.21 «38. 71 63 46000 28.97 938.77 39.45
j4 35168 24.25 38.60 39.06 64 45792 28.77 98.77 39.24
45 41984 24,31 38.24 38.56 65 A3440 29.16 38.78 39.25
16 50576 24.21 38.40 38.89 66 45040 29.29 38.80 39.15
7 49856 24.36 38.44 9 38.77 67 43568 29.66 38.80 39.11
18 52784 ° 24.23 38.13 38,64 68 48736 29.70 38.55 38.60
19 48816 24.24 38.39 38. 60 68 44416 29.90 38.60 38.70
20 47808 23.97 37.97 38. 52 10 43056 30.27 38.60 = 38. 64
21 39296 24.02 38.24 38.63 71 44848 30.52 38.59 38.77
22 39264 23.89 37.79 38. 66 72 450016 34.25 44.76 46.61
23 46480 24.03 38.11 38.62 73 15232 33.26 42.67 44.50
24 462128 26.70 44.28 43. 21 “14 69152 33.20 42.44 43.86
25 143520 25.13 38.44 40.12 15 90592 33.60 41.98 43.36
26 34288 25.02 40.45 41.50 76 69472 33.20 41.61 42.78
27 40352 24.34 38.38 39.73 tl 58960 33.18 41.40 42.50
28 37056 25.12 40.20 41.12 78 53696 32.78 41.18 42.00
29 48928 24.28 38.45 39.59 79 45824 32.45 40.66 41.62
30 46432 24.66 39.71 40.57 | 80 42416 32.47 40.83 41.21
31 §3712 24.23 38.46 39.29 81 39184 32.44 40.35 40.81
32 36432 24.56 39.58 40.19 82 39616 32.25 40.03 40. 28
33 46272 14.38 38.35 39.05 83 39632 $2.21 39.84 39.90
34 46960 25.03 39.75 40.02 84 39536 32.27 39.58 39.62
35 63792 24.34 38.18 38.84 85 40736 32.35 39.35 39.31
36 43600 24.95 39.60 39.64 86 42288 32.43 39.21 9 39.17
37 46624 24.45 38.09 38.58 a7 43680 $2.66 39.07 39.09
38 42528 24.94 39.49 39.38 88 46512 32.59 38.97 38.82
39 . 43680 24.59 38.01 38.39 89 45072 92.72 38.84 38.72
40 41712 25.10 39.22 39.06 90 44288 $2.71 38.80 38.70
4] 46944 24.58 37.94 38.17 91 45184 $2.86 38.72 38.69
42 43184 24.61 38.92 38.75 92 47820 $3.00 38.73 38.69
43 43216 24.07 37.76 37.92 93 46288 $2.90 98.67 38.72
44 41808 24.13 38.39 — 38.33 94 46512 $2.89 38.68 38.57
45 45856 23.96 37.81 37.75 95 45664 32.96 38.64 38.51
46 51264 24.06 37.93 37.99 96 461632 36.68 45.53 47.25
47 47296 24.20 37.77 37.76 97 97296 36.10 43.05 44.16
48 449584 27.68 41.40 43.34 98 $1008 $4.85 42.08 42.24
49 112944 26.72 39.45 41.31 99 57664 34.77 41.48 41. 67

44

MS-MOTO_752_0001230236
MS-MOTO_1823_00000720756
Case 2:10-cv-01823-JLR Document173-7 Filed 02/03/12 Page 11 of 15

ep fapt SND SARL
SNR (dB) SRBNGOT
Field Bits Y Cb Cr Pield Bits --¥ Cb Cr
100 «83222 34.59 41.02 «41 16 150 - 22000 29.77 40.65 38.60
101 59200 © 34.53 40.64 «40. 73 15121840 30.18 a9. a7.16
53360 34.14 40.23 40. 10 152 22672 «=. 40 88.
103 51408 33.94 39.75 39.61 153 24448 30.33 39.90 38. 00
10447024 «= 33,63 39.42 39.15 15427104 «= 30,10 40.19 39. 14
105 43616 «= 33.12 38.93 38. 51 155 «9849234. 2B 89. 8B 89. 28
106 42480 «= 32.99 «38.73 «38.14 156 97282 34.98 40.85 41. 88
107 «42192 «32.81 38.31 37.85 157 99184 = 32.34 «40.15 40. 63
108 41584 32.58 «38.07 37.50 158 83936 32.49 41.08 41.78
109 «39504 «= 32.52 37.83 37.45 159 66528 «=» 32.80 40.31 40.83
110 40800 «32.46 «37.76 = 37. 28 160 $2416 «32.48 AL OL 41. 70
111 39616 «= 32,29 37.55 37.14 161 46672-3243) 40.24 40.71
112 40208 «= 92.44 37.64 = 37.09 162 43698 32.45 40.87 41. 60
113 40576 «= 32.38 «37.39 37.00 163) AT16B = 32.46 40.21 «40. 69
iid 39856 «= 32.41 37.37 37.08 164-5072, 32.57 40.87 41.65
115 41520 «32.30 37.33 37.06 165 46480 «= 32.50 40.18 40.68
116 41584. 32.27 «37.33 37.03 166 =. 37888. = 32.43 «40.79 «4.37
11743696 = 32.41 37.37 87.16 167 42384 = 32.45 40.1740. 6.
118 45424 32.49 37.35 87.17 168 459376 = 31.12 42.10 42.81
119 46416 «32,71 97.45 37.42 169 135392 «31.80 40.11 40. 60
120 503360 «36,69 45.11 46.53 17058352 32.0241. 48 42.04
121 103968 «= 36.21 42.70 44.00 171 40208 «= 31.80 40.04 40. 42
12236736 34.27 AL. S142. 5 172 38304. «31.96 «44.26 «41.72
123 = 41008 «= 33.99 40.72 «41. 2d 173 45296 = 31.93 40.05 40.42
124 45264 = 33.93 40.34 40.80 174 42048 = 32.05 4.16 41. 68
125 46448 «= 33,88 = 40.04 = 40.47 175 45920, «32.07 «40.08 40. 44
126 «= 50784. Ss 33.76 = 39.84 «40.19 176 = 41920 32.12 41.16 41.67
127 = §0672«Ss 33.79 += 39.73 +39. 92 177 AB112.— 82.13 40.13 40.50
i128 © 3472-33. 71 «39.63 39.87 178 = «42480 «= 32.20 41.07 41.60
129 «$1024. = 33.59 «39.37 39.52 179 ABTI2.- 82.27 40.16 40.51
130 48224 = 83.36 «39.13 99. 24 180 © 43440. 3228) 41.07 41.63
131 «45824 «83.08 «38.71 «38.86 18144704 32.25 40.15 40.89
13242608 «= «33.03 38.66 38. 72 182 © 42672, 32.34 41.04 41.83
133 42176. = 32.76 = 38.31 98. 37 183 = 56880 «= 32.43 40.24 «= 40.78
134194352 27.09 37.18 36.81 184 $3120, 32.47 At. 0d 41.67
135 463202 27.24 «36.77 «96.17 185 = ASTI2. «32.41 40.22 © 40.69
136 = 80512, 27.27 37.23 36.43 186 = 44272, 32.43 41.0041. 60
1387-28048 «= 27.19 36.81 35. 86 187 = 45760 32.46 «40.20 40.68
138 = 28176 = 27.21 37.20 35.87 188 43984 32.45 «40.93 41.60
139 «27808 «= 27.12 36.65 38.30 183 46304. «32.50 40.21 40.76
14027712, 27.13 37.06 35.47 190 43760 «= 32.49 40.83 41.58
141 27344—s27.05 36.63 34.98 191 45264. = 32.53 40.22 40.73
142 «27040 27,02 36.88 35.19 192 455184 «= 30.99 41.95 42.69
14326944 26.98 «36.53 34.89 193 138608 «= 31.77 40.08 40. 64
144 453040 = 31.45 42.44 43.30 194 274992. 26.55 37.41 37.28
145 149840 = 31.89 40.26 +40. 90 “195 51152 26.09 96.55 36.65
146 = 20752 30.43 41.29 = 40.32 196 26288 © 26.47 37.25 36. B4
14722128 «= 30.75 39.83 38. 19 197 24832, 25.80 36. 5236. 23
148 = 22288 «= 29,97 40.79 38. 26 198 = 24208 «= 26.03 37.11 36. 28
14922512 30,29 39.61 37.78 199 24144 = 25.38 36.58 35.66

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MS-MOTO_752_0001230237
MS-MOTO_1823_00000720757
_ Case 2:10-cv-01823-JLR Document 173-7 Filed 02/03/12 Page 12 of 15

SNR (GB) SNR (dB)

Field Bits Y Cb Cr Field Bits Y Cb Cr
200 24096 25.40 37.12 35.79 250 41936 28.25 39.44 39.10
201 23872 24.86 36.55 35. 33 251 35440 28.14 38.29 37.97
202 23296 24.92 37.16 35.49 202 25392 28.46 38.99 38.53
203 23424 24.61 36.57 35.15 253 27984 28.67 38.00 37.69
204 23392 24.90 37.07 35. 34 254 42336 28.47 38.65 38.27
205 22880 24.61 36.539 35.00 250 43360 28.40 37.84 37.61
206 22416 24.90 37.05 35.02 256 49072 28.65 38.39 38.11
207 22368 24.61 36.58 34.79 257 51984 28.71 37.76 37. 58
208 22480 24.84 37.07 35.04 258 47472 28.89 38.26 38.03
209 22576 24.60 36.51 34.73 259 45744 28.91 37.71 37.50
210 23296 24.80 37.01 35.05 260 47120 28.99 38.12 38.03
all 22800 24.56 36.51 34.78 261 44352 28.91 37.68 37.50
212 23104 24.74 36.98 34.93 262 41760 29.01 38.04 37.95
213 23328 24.58 36.49 34.97 263 41984 29.06 37.72 37.52
214 25072 24.88 36.99 35.33 264 488608 30.62 42.19 43.18
215 30224 25.08 36.50 35.18 265 106336 30.41 39.48 40.03
216 673472 30.63 42.61 43.64 266 23840 30.20 41.50 41.95
217 127520 30.20 39.72 40.31 267 32176 30.32 939.47 39.65
218 18016 29.55 41.68 42.24 268 51520 30.61 41.03 41.36
219 18496 29.45 39.53 39.76 269 69824 30.43 39.29 39.38
220 18752 29.12 41.39 41.53 270 57792 30.24 40.32 40.65
221 19104 29.07 39.44 39.48 211 58736 30.10 39.06 39.16
222 20336 28.60 41.15 41.12 272 50880 29.74 39.67 39.98
223 23600 98.71 39.35 39.22 213 51920 29.70 38.67 38.82
224 40782 99.24 41.18 40. 96 274 46896 29.70 39.03 39.40
229 67008 90.07 39.38 39.45 275 34224 29.53 38.29 38.53
226 93856 30.81 41.19 41.46 276 36496 29.55 38.59 39.01
227 88000 $0.79 39.65 40.04 277 35712 29.48 38.06 38.30
228 59328 30.58 41.41 41.54 278 36889 20.68 38.34 38.73
223 $5504 30.83 39.78 40.10 279 41328 29.60 38.01 38.16
230 $2496 30.97 41.02 41.48 280 45760 29.48 38.11 38.47
231 49392 30.78 39.73 40.06 281 51248 29.41 37.93 38.04
232 46848 30.88 40.91 41.33 282 51008 29.15 37.94 38. 30
233 42272 30.61 39.63 39.92 283 48224 28.92 37.72 37.80
234 41568 30.77 40.78 41.21 284 49072 28.70 «37.68 937. $7
235 47632 30.59 39.55 39.89 285 50192 28.63 37.61 37.59
236 47072 30.67 40.56 41.01 286 41008 28.44 37.55 37.73
237 48288 30.46 39.41 39.74 287 41280 28.35 37.39 37.44
238 = 41824 30.35) 40.93 40. 72 288 468768 30.19 41.70 42.82.
239 42160 30.13 39.28 39.54 289 114628 30.17 39.29 39.84
240 486736 29.96 41.98 42.90 290 93376 28.97 40.83 41.45
24) 110336 29.80 39.50 40.00 291 39120 29.07 39.08 39.35
242 41504 30.00 41.26 41. 84 292 46208 29.00 40.21 40.53
243-8816 = 29,92 39.43 99.69 293 «48208 «29.42 98.82 98.95
244 50944 30.00 41.00 41. 26 294 54752 29.34 39.72 40.09
249 99696 29.75 39.25 $9.32 295 $3312 29.08 38.57 38.63
246 60064 29.57 40.58 40.52 296 48720 28.90 39.20 39.59
247 47664 28.75 39.03 38.87 297 48064 28.74 38.30 38.41
248 44896 28.69 40.07 39.78 298 52576 28.70 38.76 39.62
249 46272 28.23 38.68 38.37 299 47664 28.38 38.03 37.86

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MS-MOTO_752_0001230238
MS-MOTO_1823_00000720758
Case 2:10-cv-01823-JLR Document 173-7 Filed 02/03/12 Page 13 of 15

Field

> GO 3 om on om Oo OD RY >

Bits

eo &

ery
Dud
pec
Jos

to oF

565
855

41192
113328
114992
142368
128144
136896

105952

ageAan
vueaY

92768
92400
89120
103440
121504
137552
131584
111136
109808
109600
94352
82560
108976

aAinge

124096

QQRIAG
GOUUNY

253488

85424
112016
107056
126928
105408

VUES

127008
131488
104064
100736
100384
104928
113504
126112
116176
111472
111360
109024

11N192
diviay

109408
869040
207696

Sequence : table tennis
SMbps

Bit rate :

or.

SNR (dB)

ao

vc.

au.

oy

aa.

ou

47

Institute ;

Date :

Bits

116880

116016
117648
101248
112064
114864

1Uf246
111200
103440
112000
106368
118464
108784
104176
118992

mnaVen
ivguuy

109392
104784
111952
105840
108720

108512
113456
107552
110656

104880
100576

avud id

109888
118896
110720
109760
110416
108928
110288
109232
109488
109712
110368
109328
110384

ojgson
O1S4o0Vu

236528

ovvuds

111504
121872

NHK
/ /%
SNR (dB)
Y Cb Cr

MS-MOTO_752_0001230239
MS-MOTO_1823_00000720759
Case 2:10-cv-01823-JLR. Document 173-7 Filed 02/03/12 Page14o0f15 =~

Field

Bits

111440
109440
109808
109536
111456
108848

111709
dLivua

108320

111568
109136
111248
103088
111600
108192
111136

109744 -

109472
915200
217792

90128
111744
117984
112400
111920
112432
109360
111920
110112
109696

108784

1T1IACe
ilvvt

263904
52896
30512
36896
93728

114000

136624

14On1g

Lavuid

127952

897008

1ao

114448
115136
110384

Y

ua

av

SNR (dB)

4a.

we

aa.

oF

48

Field Bits

110320
110640
110240
108720
110688
120192

1iQTAA

£a0tee

110928
109056
109984
109232
113152
110368
108912
107760
878672
228256
124032
100336
108960
110192

11G408
savas

120208

99616
108720
110096
120256
110160
109344

1NOOoA

109760
112160
109680
109488
109184
109984
111408
108368
111584
882832
234592

SNR (dB)
Y ‘Cb Cr

MS-MOTO_752_0001230240
MS-MOTO_1823_00000720760
Case 2:10-cv-01823-JLR Document 173-7 Filed 02/03/12 Page 15o0f15 -

Field

200
201
202
203
204
205
206
207
208

an5

auy

on
oly

21]

Bits

121248
149664
140224
124832
117360
107392
107008
117712
110576
107742
199776
109312
111088
108976
109982
109982
914608

213680
92768

120224
109616
111024
108688
111520
108944
110544
108640
111392
107360

111664

110144
109440
111088
110800
110128
920784
198016
109696
116368
109664
114464

1Jod0d5

1N@AOe
ivuusy

99728
109312

Y

SNR (dB)
Cb
Zi 38, 2
65 38. 82
00 39.25
18 39.21
30 39. 48
34 39.43
42 39.56
55 39.50
51 39.67
61 39. 55
64 39.69
12 39.70
69 39.72
18 39.76
Th 39.85
81 39.81
$1 44.75
40 40.82
94 ABA
89 41.00
25 42.94
07 40.99
22 42.76
13 41.02
25 42.59
19 40.98
28 42.61
19 40. 93
28 42.42
26 41.00
32 42.31
28 41.05
36 42.37
32 41.05
41 42.29
3741.03
40 42.16
34 40. 96
3442.03
26 40.93
96 44. 80
28 40.72
11 = 43.09
75 40. 80
04 42.74
12 40. 62
63 42. 11
ai 40. 24
14 «41.40
06 39. 96

fa.

oo

49

106752
104688
102448
110064
107760
116928
109248
108112
110112
922176
191568
100064
122416
122720
110864

98576
109520
111344
111680
1iL072Z
103856
107008
118112
110624
108768
114080
114000

Agana

103408

1Nn119e
iviluyv

111712
110382
114256
108208
918704
206880

96800

1n90nn
iveuvyu

112144

109808
110484
111056
110192
1ii584
113008

110144

SNR (dB)

Y Cb Cr
31.32 40.80 41.18
31.57 39.77 40. 38
$2.17 41.0) 41.60
92.24 39.81 40.78
$1.80 40.39 40.82
$1.57 39.56 40.33
31.59 40.16 40.47
31.42 389.34 39.91
31.81 39.88 40.21
31.82 39.43 40.08
32.12 39.97 40.48
31.97 39.46 40.09
32.14 39.96 40. 46
32.17 39.63 40.35
32.63 44.97 46.20
31.97 40.85 41.67
32.75 43.26 44.49
32.65 41.08 42.07
32.92 42.61 43.74
32.20 40.59 41.43
32.07 41.68 42.48
32.11 40.31 41.18
32.21 41.10 41.81
32.16 40.06 40.87
32.39 40.60 41.29
32.55 39.92 40.78
32.74 40.58 41.23
32.95 40.07 40.95
33.00 40.44 41.20
32.91 39.97 40.87
32.70 40.06 40.84
32.29 39.58 40.39
31.80 39.57 40.33
31.64 39.30 40.05
31.58 39.25 40.02
31.50 39.11 33.81
31.54 39.16 39.80
31.59 38.96 39.72
32.44 44.59 46.00
31.87 40.60 41.55
32.00 42.44 43.59
31.82 40.33 41.04
31.89 41.44 9 42.47
31.70 40.01 40.80
31.87 40.95 41.98
31.62 39.87 40.51
31.65 40.50 41.36
31.84 39.67 40,37
31.53 40.22 40. 84
31.43 39.45 40.08

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